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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-0024-GEB
12                                 Plaintiff,             STIPULATION AND (PROPOSED) ORDER
                                                          TO ADVANCE STATUS CONFERENCE
13                          v.
                                                          Date:     October 18, 2019
14   DONTE ROBINS,                                        Time:     9:00 a.m.
     ISAIAH BURKS,                                        Judge:    Hon. Garland E. Burrell, Jr.
15   RAYSHAWN WRAY, and
     JOSHUA MARKANSON,
16
                                  Defendants.
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19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, Rayshawn Wray, and Joshua Markanson, through their counsel of record, stipulate that the
21 status conference currently set for October 18, 2019, be advanced by one week, to October 11, 2019, at

22 9:00 a.m.

23          On October 2, 2019, the undersigned government counsel erroneously filed a stipulation and

24 (proposed) order that asked the Court to continue the October 4 status hearing by two weeks to October

25 18. (Dkt. No. 97.) The Court granted the request the next day. (Dkt. No. 98.)

26          Prior to the filing, the parties had discussed their availability, and while October 18 was initially

27 proposed as a status date, due to counsel’s unavailability on that date, October 11 was agreed upon as a

28 mutually agreeable date. The undersigned government counsel erroneously filed a prior draft version of

      STIPULATION AND (PROPOSED) ORDER                    1
30    TO ADVANCE THE STATUS CONFERENCE
              Case 2:18-cr-00024-TLN Document 104 Filed 10/11/19 Page 2 of 3


 1 the stipulation and (proposed) order that identified October 18 as the status date, rather than the correct

 2 date of October 11, which is the only date that all four defense counsel are available.

 3          Because this matter is currently calendared for October 18 (Dkt. No. 98), the parties are asking to

 4 advance the matter by one week, to October 11. One of the four defendants (Rayshawn Wray) will be

 5 entering a change of plea on that date, and the remaining parties will ask to set trial dates.

 6          Time under the Speedy Trial Act has already been excluded through October 18, 2019, and thus,

 7 no exclusion of time is necessary.

 8                                                        Respectfully submitted,

 9 Dated: October 10, 2019                                _/s/ Timothy H. Delgado___________
                                                          TIMOTHY H. DELGADO
10
                                                          Assistant United States Attorney
11                                                        Attorney for Plaintiff United States

12 Dated: October 10, 2019                                _/s/ THD for Linda C. Allison_______
13                                                        LINDA C. ALLISON
                                                          Assistant Federal Defender
14                                                        Attorney for Defendant Donte Robins

15 Dated: October 10, 2019                                _/s/ THD for Philip Cozens_________
16                                                        PHILIP COZENS
                                                          Attorney for Defendant Isaiah Burks
17

18 Dated: October 10, 2019                                _/s/ THD for Todd D. Leras___________
                                                          TODD D. LERAS
19                                                        Attorney for Defendant Rayshawn Wray

20
     Dated: October 10, 2019                              _/s/ THD for Etan Zaitsu___________
21                                                        ETAN ZAITSU
                                                          Attorney for Defendant Joshua Markanson
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      STIPULATION AND (PROPOSED) ORDER                    2
30    TO ADVANCE THE STATUS CONFERENCE
              Case 2:18-cr-00024-TLN Document 104 Filed 10/11/19 Page 3 of 3


 1                                                    ORDER

 2          The Court, having received and considered the parties’ stipulation, adopts the parties’ stipulation

 3 in its entirety as its order. The Court orders that the status conference currently set for October 18, 2019

 4 be advanced by one week, to October 11, 2019, at 9:00 a.m. Time under the Speedy Trial Act has already

 5 been excluded through this date.

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            Dated: October 10, 2019
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      STIPULATION AND (PROPOSED) ORDER                   3
30    TO ADVANCE THE STATUS CONFERENCE
